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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                           AMARILLO DIVISION

                                           '
BRENT RAY BREWER,                          '
                                           '
                    Petitioner,            '
                                           ' CIVIL ACTION NO. 2:15-CV-50-J
             v.                            '
                                           ' CAPITAL HABEAS CORPUS
                                           '
WILLIAM STEPHENS,                          '
Director, Criminal Institutions            '
Division, Texas Department of              §
Criminal Justice,                          '
                                           '
                    Respondent.            '
                                           '

      __________________________________________________________________

                     ADVISORY TO THE COURT
      _________________________________________________________

      On September 25, 2018, this Court stayed Petitioner Brent Ray Brewer’s

federal habeas corpus case to allow Petitioner to exhaust remedies in state court.

Doc. No. 76. In granting the stay, this Court ordered Petitioner to file an

application for post-conviction relief in the state court within 60 days, and, unless

he obtained relief in state court, to return to this Court within 45 days of exhausting

his state court remedies.
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      On November 21, 2018, Petitioner filed his Subsequent Application for Writ

of Habeas Corpus in Accordance With Article 11.071, Section 5 of the Texas Code

of Criminal Procedure. On October 23, 3019 the Texas Court of Criminals

dismissed Petitioner’s Application. Ex parte Brewer, No. WR-46,587-03, 2019

WL 542044 (Tex. Crim. App. Oct. 23, 2019). Pursuant to this Court’s order,

Petitioner, through undersigned counsel, hereby informs this Court that he has

exhausted his state court remedies.


                                             Respectfully submitted,

/s/ Philip Alan Wischkaemper                 /s/ Peter Walker
PHILIP ALAN WISCHKAEMPER                     PETER WALKER
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Dated: December 6, 2019




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                         CERTIFICATE OF SERVICE
      I hereby certify that on this date, I caused the foregoing to be served on the
following person by ECF filing:
                                    Erich Dryden
                            Assistant Attorney General
                      Office of the Attorney General of Texas
                              Post Office Box 12548
                             Austin, Texas 78711-2548


                                              /s/ Peter Walker
                                              Peter Walker



Dated: December 6, 2019
